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                                       United States District Court
                                      Eastern District of California
                      Before the Honorable WILLIAM B. SHUBB, SENIOR JUDGE

                                          CIVIL TRIAL MINUTES

BRIAN MARKUS,                                    Time in Court:      5:35

                      Plaintiff,                 CASE #: 2:15cv2245 WBS
                                                 DATE:     April 26, 2022
vs                                               Courtroom Deputy: Karen Kirksey Smith
                                                 Court Reporter:    Jennifer Coulthard
AEROJET ROCKETDYNE HOLDINGS,
INC. et al,

                      Defendants.

Appearance(s) for Plaintiff:                              Appearance(s) for Defendant(s):

Gregory Thyberg                                           Tammy Tsoumas
David Schecter                                            Mark Holscher
Nick Garver                                               Ashley Neglia
                                                          Sable Hodson



Jury Trial (Day 1):

 9:10 a.m.    Trial commences. Jury present. Court addresses jurors, jury voir dire oath given. Court begins
              voir dire.
 10:43 a.m.   Jury excused. Court confers with counsel re jury selection proceedings and scheduling.
 10:45 a.m.   Court recessed.
 11:00 a.m.   Trial resumes. Jury returns. Court and counsel resume with jury voir dire.
 11:08 a.m.   Plaintiff=s counsel questions jurors.
 11:55 a.m.   Jury excused. Court confers with counsel re jury selection proceedings, challenges for cause
              and preemptories.
 12:00 p.m.   Court recessed.
 1:30 p.m.    Trial resumes. Jury returns. Defendants’ counsel questions jurors.
 1:55 p.m.    Court confers with counsel regarding challenges for cause and preemptories.
 2:08 p.m.    Court announces selected jurors to be seated for trial. Remaining jurors excused.

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2:10 p.m.   Jury panel sworn. Court presents pretrial instructions to jury panel.
2:40 p.m.   Jury excused. Court confers with counsel re pending motions in limine. Counsel inform the
            Court that the Motion to Quash (Docket No. 217) has been resolved. Court orders the April 27,
            2022 hearing date VACATED.
2:52 p.m.   AUSA Rachel Muoio, interested party, present and confers with the court.
2:55 p.m.   Court recessed
3:10 p.m.   Trial resumes with jurors present.   Plaintiff makes opening statement.
4:03 p.m.   Defendant makes opening statement.
4:45 p.m.   Court Adjourned. Jury Trial continued to April 27, 2022 at 9:00 a.m.




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